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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


ASADULLAH HAROON “AL AFGHANI”
GUL, DETAINEE AT
GUANTANAMO BAY, CUBA

                           Petitioner,

               v.                                             No. 1:16-cv-01462-APM

DONALD J. TRUMP, et al.,

                          Respondents.


      JOINT STATUS REPORT ON PETITIONER’S MOTION FOR DISCOVERY

       Pursuant to this Court’s Order dated April 12, 2017 (ECF No. 32), Petitioner filed his

motion for discovery on May 12, 2017 along with eight Requests for Production, and

Respondents filed their opposition on June 9, 2017. In this opposition, Respondents explained

that they had searched the reasonably available evidence for many of the types of information

requested, and either produced them or would have produced them had they been found during

their searches. It appeared that the scope of the dispute could be narrowed considerably, if not

entirely, and accordingly Petitioner requested and Respondents agreed to a one-week extension

of time for Petitioner to file his reply in support of his motion for discovery. The Court entered a

Minute Order granting Petitioner’s motion for this extension on June 26, 2017.

       The Parties are pleased to report that they have resolved any dispute regarding the first

six discovery requests, and have agreed to postpone the last two until such time as Petitioner

himself is able to read the factual return and supporting documents. Specifically, the Parties

have agreed as follows:
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      1. With respect to Request No. 1, Petitioner accepts Respondents’ representation that

          they have produced in this case, from the reasonably available universe of

          information, all forms of the statements on which they rely, as well as information

          regarding the circumstances in which those statements were made (as provided for in

          Section I.E.1 of the Case Management Order entered by Judge Hogan in Misc. No.

          08-0442 1), and all exculpatory statements by Petitioner (as defined in Section I.D.1 of

          the same order), subject to the caveat contained in Respondents’ June 9, 2017

          Opposition to Petitioner’s Motion for Discovery (at 3, n.2, 10 n.4). Petitioner further

          accepts Respondents’ representation that they did not find in their searches any

          recordings, transcripts, or other records in which Petitioner’s statements on which

          they rely were recorded verbatim.

      2. With respect to Request No. 2, Petitioner accepts Respondents’ representation that

          they have produced in this case, to the extent it existed, any information regarding

          any abuse of Petitioner or relating to his allegations of abuse that they located in the

          reasonably available universe of information, as well as Respondents’ representation

          that they will produce any such information that they later discover.

      3. With respect to Request No. 3, Petitioner accepts Respondents’ offer to produce all

          medical records in Petitioner’s medical file at the Guantanamo Bay detention facility

          from the time of Petitioner’s capture in 2007 through 2009, and that such production

          will satisfy Request No. 3.

      4. With respect to Request No. 4, Petitioner accepts Respondents’ representation that

          they do not intend to rely in this case on the CSRT’s determination regarding a lack

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 See Order (Nov. 6, 2008), 08-mc-0442-TFH, ECF No. 940, as amended by Order (Dec. 16,
2008), 08-mc-0442-TFH, ECF No. 1315 (collectively referred to as the “Amended CMO”).
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   of coercion relating to Petitioner’s statements on which they rely. Respondents

   represent that any such evidence of coercion, to the extent it existed, would be

   produced in accordance with their obligations to produce exculpatory evidence under

   Section I.D of the Amended CMO.           Petitioner accepts these representations in

   satisfaction of Request No. 4.

5. With respect to Request No. 5, Petitioner accepts Respondents’ representation that

   they have produced in this case, to the extent it existed and was located in the

   reasonably available universe of information, any information reflecting that the

   witnesses on whose statements they rely received incentives or inducements to

   provide information about Petitioner.         Petitioner also accepts Respondents’

   representation that every document concerning a given witness is not organized in the

   reasonably available universe of information in a single file or folder. Petitioner

   accepts these representations in satisfaction of Request No. 5.

6. With respect to Request No. 6, Respondents informed Petitioner that to their

   knowledge no detainee alleged to have been a member of Hezb-e-Islami Gulbuddin

   (“HIG”) has been released because of a determination that such individual could not

   be lawfully detained after the armistice entered into by HIG in September 2016.

   Petitioner accepts this information in satisfaction of Request No. 6.

7. Request No. 7 sought exculpatory evidence relating to linguists who translated any

   allegedly inculpatory statements made by Mr. Gul and which serve as the basis for

   detention. The Parties have agreed to meet and confer regarding this Request once

   Mr. Gul has had an opportunity to review the unclassified factual return and the
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           supporting documents, at which time Petitioner will be able to identify with more

           specificity which statements appear to have been mistranslated.

       8. Request No. 8 sought exculpatory evidence and information relating to witnesses on

           whose statements Respondents rely. The Parties have agreed to meet and confer

           regarding this Request once Mr. Gul has had an opportunity to review the unclassified

           factual return and the supporting documents, at which time Petitioner expects to be

           able to narrow this Request.

       Accordingly the Parties request that the Court dismiss as moot the Petitioner’s Motion for

Discovery with respect to Request Nos. 1 through 6 and adjourn such motion with respect to

Request Nos. 7 and 8 until such time as Petitioner has had an opportunity to review the Third

Supplemental Factual Return and supporting documents.          This disclosure is scheduled for

September 22, 2017.      Respondents have provided instructions to Petitioner’s counsel for

facilitating the delivery of the unclassified factual returns that may be reviewed by Petitioner

(designated as “Releasable to ISN 3148. Not Releasable to Public”) either during or outside of a

scheduled legal visit. Counsel for Petitioner proposes to file a status report with the Court when

it has delivered such version of the Third Supplemental Factual Return to Petitioner to inform the

Court of counsel’s anticipated timeline for resolving Request Nos. 7 and 8.



Dated: June 30, 2017
                                             Respectfully submitted,

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